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      Pro Hac Vice
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7
      Attorneys for Defendant, ALEXANDER SMIRNOV
8
                               UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10                                       ******
      UNITED STATES OF AMERICA,           )
11
                        Plaintiff,        )
12                                        )     CASE NO. 2:24-CR-00091-ODW
      v.                                  )
13
      ALEXANDER SMIRNOV,                  )
14                      Defendant,        )
      ____________________________________)
15
                               DEFENDANT’S SUPPLEMENT TO
16           SECOND RENEWED EMERGENCY EX PARTE MOTION (ECF No. 70)

17          COMES NOW, Defendant, ALEXANDER SMIRNOV (“Mr. Smirnov”), by and through
18    his attorneys, DAVID Z. CHESNOFF, ESQ., and RICHARD A. SCHONFELD, ESQ., of the law
19
      firm of CHESNOFF & SCHONFELD and hereby files this Supplement to Defendant’s Second
20
      Renewed Emergency Ex Parte Motion (ECF No. 70; filed May 21, 2024)
21
            Dated this 22nd day of May, 2024.
22
                                                Respectfully Submitted
23
                                                CHESNOFF & SCHONFELD
24

25                                              /s/ David Z Chesnoff
                                                DAVID Z. CHESNOFF, ESQ.
26                                              Pro Hac Vice
27                                              RICHARD A. SCHONFELD, ESQ.
                                                California Bar No. 202182
28
                                                  1
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1                         MEMORANDUM OF POINTS AND AUTHORITIES
2
             As a Supplement to ECF No. 70 (May 21, 2024), the attached Declaration of Counsel sets
3
      forth the specific medications that Mr. Smirnov requires to treat his deteriorating eye disease.
4
             DATED this 22nd day of May, 2024.
5

6
                                                    Respectfully Submitted:
7
                                                    CHESNOFF & SCHONFELD
8

9                                                      /s/ David Z Chesnoff
                                                    DAVID Z. CHESNOFF, ESQ.
10
                                                    Pro Hac Vice
11                                                  RICHARD A. SCHONFELD, ESQ.
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                                                    Attorneys for Defendant
16
                                                    ALEXANDER SMIRNOV
17

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1
                                     DECLARATION OF COUNSEL
2

3             I, David Z. Chesnoff, do hereby declare that the following statements are true and correct:
4
         1.      I am co-counsel of record for Defendant Alexander Smirnov in this case.
5

6        2.      On May 21, 2024, Mr. Smirnov, through counsel, filed with this Honorable Court the
7
                 following document: “Defendant’s Second Renewed Emergency Ex Parte Motion For
8
                 (1) Provision of Eye Drops, and (2) A Court Ordered Medical Furlough Under 18
9
                 U.S.C. § 3142(i) For Eye Surgery With Dr. H. George Tanaka,” entered in the docket
10

11               as ECF No. 70.

12
         3.      On the morning of May 22, 2024, undersigned counsel communicated with Dr. H.
13
                 George Tanaka, who advised as to the specific eye drops required by Mr. Smirnov:
14

15               a. Timolo
16
                 b. Brinzolamide (Azopt)
17

18               c. Bimatoprost (Lumigan)
19
         4.      Undersigned counsel affirms that the following counsel for the government are being
20

21               notified by email of this Supplement to ECF No. 70:

22       Derek Edward Hines
         US Department of Justice
23
         Office of Special Counsel David C. Weiss
24       950 Pennsylvania Avenue NW Room B-200
         Washington, DC 20530
25
         771-217-6091
26       Email: deh@usdoj.gov

27

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                                                       3
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1        Leo J. Wise
         US Department of Justice
2
         Office of Special Counsel David C. Weiss
3        950 Pennsylvania Avenue, NW, Room B-200
         Washington, DC 20530
4
         771-217-6091
5        Email: LJW@USDOJ.GOV (Inactive)
6
         Christopher Michael Rigali
7        Office of Special Counsel, U.S. Dept. of Justice
         950 Pennsylvania Avenue NW, Room B-200
8
         Washington, DC 20530
9        202-616-2652
         Email: christopher.rigali2@usdoj.gov
10

11       Sean F Mulryne
         Office of the Special Counsel - Weiss
12
         950 Pennsylvania Avenue NW, Room B-200
13       Washington, DC 20530
         202-430-4880
14
         Email: sfm@usdoj.gov
15
             I declare under penalty of perjury under the laws of the United States of America that the
16

17    foregoing is true and correct.

18           Executed on this 22nd day of May, 2024.

19
                                                            _____________________________
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                                                            DAVID Z. CHESNOFF
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1                                    CERTIFICATE OF SERVICE
2
             I hereby certify that on this 22nd day of May, 2024, I caused the forgoing document to be
3
      filed electronically with the Clerk of the Court through the CM/ECF system for filing; and served
4
      on counsel of record via the Court's CM/ECF system.
5

6
                                           /s/ Camie Linnell
7                                          Employee of Chesnoff & Schonfeld
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